           Case 1:23-cv-03621-SCJ Document 12 Filed 08/17/23 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

                                      )
THE STATE OF GEORGIA,                 )
                                      )
      v.                              ) Civil Case No. 1:23-CV-03621-SCJ
                                      )
MARK R. MEADOWS,                      )
                                      )
               Defendant.             )
                                      )

                        NOTICE REGARDING SERVICE

      Defendant Mark R. Meadows, by and through his undersigned counsel,

hereby provides notice regarding compliance with the Court’s Order to serve the

following documents on the Fulton County District Attorney, Fani Willis: (1) the

Notice of Removal of Fulton County Superior Court Indictment No. 23SC188947,

Doc. No. [1] (the “Notice or Removal”); and (2) the Court’s Order Setting an

Evidentiary Hearing, Doc. No. [6] (the “Order”).

      Pursuant to the Order, Defendant attempted personal service of the Notice of

Removal and the Order at the Fulton County District Attorney’s office earlier today.

However, Defendant’s process server was told by the receptionist that there is no

one in the office that can accept service and to try back on Monday. In light of the

foregoing, this afternoon Defendant sent an email to Ms. Willis and Deputy Fulton

County District Attorney John W. Wooten, who had entered an appearance in this
        Case 1:23-cv-03621-SCJ Document 12 Filed 08/17/23 Page 2 of 5




action earlier today on behalf of the State of Georgia, Doc. No. [8], attaching the

Notice and Order and requesting that their office accept service via email. As of

the time of this filing, Defendant has not received any response to this request.

Defendant will attempt personal service again tomorrow and continue his best efforts

to effectuate service in compliance with the Court’s Order.

      Defendant also notes that despite having yet been unable to personally serve

the Notice of Removal and the Order, the Fulton County District Attorney’s office

has already received notice of this action and the upcoming hearing. In addition to

the email sent by Defendant’s counsel earlier today referenced in the foregoing

paragraph, Defendant’s counsel previously provided notice of this removal action

and a copy of the Notice or Removal to Ms. Willis, Mr. Wooten and three other

attorneys in the Fulton County District Attorney’s Office, via email on August 16,

2023. Ms. Willis promptly responded to this email, confirming that the email from

Defendant’s counsel was received by her. Moreover, Ms. Willis was listed as an

attorney of record in the docket at the inception of this action and therefore likely

received notice of the Notice of Removal and the Order via ECF.




                                         2
       Case 1:23-cv-03621-SCJ Document 12 Filed 08/17/23 Page 3 of 5




Dated: August 17, 2018

           Respectfully submitted,

                                          MARK R. MEADOWS
                                          By Counsel

                                         Joseph M. Englert
                                         MCGUIREWOODS LLP
                                         1230 Peachtree St., N.E., Suite 2100
                                         Georgia Bar No. 112409
                                         Atlanta, GA 30309
                                         (404) 443-5500
                                         jenglert@mcguirewoods.com

                                         George J. Terwilliger, III (admitted pro
                                         hac vice)
                                         John S. Moran (admitted pro hac vice)
                                         Michael Francisco (admitted pro hac
                                         vice)
                                         MCGUIREWOODS LLP
                                         888 16th Street NW, Suite 500
                                         Washington, DC 20006
                                         (202) 857-1700
                                         gterwilliger@mcguirewoods.com
                                         jmoran@mcguirewoods.com
                                         mfrancisco@mcguirewoods.com




                                     3
Case 1:23-cv-03621-SCJ Document 12 Filed 08/17/23 Page 4 of 5
        Case 1:23-cv-03621-SCJ Document 12 Filed 08/17/23 Page 5 of 5




                          CERTIFICATE OF SERVICE

      On August 17, 2023, the foregoing Notice Regarding Service was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all attorneys of record.

      This 17th day of August, 2023.

/s/ Joseph M. Englert
Joseph M. Englert
MCGUIREWOODS LLP
1230 Peachtree St., N.E., Suite 2100
Georgia Bar No. 112409
Atlanta, GA 30309
(404) 443-5500
jenglert@mcguirewoods.com
